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DOCKETNO. 1596
BEFGRE THE JUDICIAL PANEL ON MULTIDISTRICTLITIGA TION

INRE ZYPREXA PRODUCTS LIABILITYLITIGA TION
Wr`llz`am Berresheim, et al. v. Eli Lz'lly & Co., W.D. Tennessee, C.A. No. 2105-2291 y

ORDER VA CA TING CONDITIONAL TRANSFER ORDER

A conditional transfer order was filed in this action (Berresheim) on May 17, 2005. In the
absence of any opposition, the conditional transfer order Was finalized with respect to Berreshez'm
on lune 2, 2005, but pursuant to 28 U.S.C. § 1407(c), the Panel’s transfer of Berreshec`m did not
become effective until June 28, 2005, the date the transfer order Was filed in the office of the clerk
of the transferee court (the Eastern District ofNew York). Prior to that date, however, Berreshez`m

was dismissed in the Western District of Tennessee by the Honorable I. Daniel Breen in an order
filed on June 6, 2005.

IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated
as “CTO-23” filed on May 17, 2005, is VACATED insofar as it relates to this action.

FOR THE PANEL:

4… Q. aaa ,

Michaei J. Bé'ck
Clerk of the Panel

 

UNITED STATES DISTRICT COURT WES¢TER 4 DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02291 Was distributed by faX, mail, or direct printing on
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Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Jill 1\/1. Steinberg

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Mariarme Bell Matthews

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Sam B. Blair

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Patrick 1\/1. Ardis
WOLFF ARDIS

5810 Shelby Oaks Dr.
1\/lemphis7 TN 38134

Honorable J. Breen
US DISTRICT COURT

